Case 2:21-cv-04405-RGK-MAR Document 44-2 Filed 06/15/21 Page 1 of 4 Page ID #:438




                            Exhibit A
                to Declaration of Robert Johnson




                                                                            4
Case
Case
 Case2:21-cv-04405-RGK-MAR
     2:21-cv-03254-RGK-MAR
      2:21-mj-01307-DUTY *SEALED*
                            Document
                             Document
                                   Document
                                      44-2
                                      20 Filed
                                            Filed
                                              5 04/20/21
                                                  Filed
                                                  06/15/21
                                                        04/09/21
                                                            Page
                                                             Page7Page
                                                                   2ofof1241 of
                                                                             Page
                                                                              Page
                                                                                3 Page
                                                                                   ID
                                                                                    ID #:180
                                                                                       #:439
                                                                                         ID
                                      #:234
     Case 2:21-mj-01307-DUTY *SEALED* Document 1-1 *SEALED*                                     Filed 03/17/21 Page 1 of 3
                                      Page ID #:110



                     United States District Court
                         CENTRAL                          DISTRICT OF ___                ___:::;C'""AL=IF"-'O=RNIA..,,._.,_=------~

           In the Matter of the Seizure of
  (Address or Brief description of property or premises to be seized)                       SEIZURE WARRANT
  Certain business equipment located at
  U.S. Private Vaults, Inc.,                                                 CASE NUMBER: 2:21-MJ-01307
  9182 West Olympic Blvd.,
  Beverly Hills, CA 90212

  TO: any Authorized Officer of the United States, Affidavit(s) having been made before me by Special Agent
  Lynne Zellhart who has reason to believe that in the Central District of California there is now certain property
  which is subject to forfeiture to the United States, namely, the business equipment described in the attachment,

  which are subject to seizure and forfeiture pursuant to 18 U.S.C. § 982(b), 21 U.S.C. § 853(f) and 31 U.S.C.
  § 5317(c).

  concerning violations of 18 U.S.C. § 1956, 21 U.S.C. § 841, and 31 U.S.C. § 5324, and conspiracy to commit
  the same.

  I am satisfied that the affidavit(s) and any recorded testimony establish probable cause to believe that the
  property so described is subject to seizure and that grounds exist for the issuance of this seizure warrant.

  YOU ARE HEREBY COMMANDED to seize within 14 days the property specified, serving this warrant and
  making the seizure in the daytime - 6:00 A.M. to 10:00 P.M., leaving a copy of this warrant and receipt for the
  property seized, and prepare a written inventory of the property seized and promptly return this warrant and
  inventory to the United States Magistrate on duty at the time of the return through a filing with the Clerk's
  Office.



                                                                            at   Los Angeles, California
  Date and Time Issued


  Honorable Steve Kim, U.S. Magistrate Judge
  Name and Title of Judicial Officer                                        Signature of Judicial Officer




 AUSA Andrew Brown, x0102, I J1h Floor



                                                                        1                                              5
Case
Case
 Case2:21-cv-04405-RGK-MAR
     2:21-cv-03254-RGK-MAR
      2:21-mj-01307-DUTY *SEALED*
                            Document
                             Document
                                   Document
                                      44-2
                                      20 Filed
                                            Filed
                                              5 04/20/21
                                                  Filed
                                                  06/15/21
                                                        04/09/21
                                                            Page
                                                             Page8Page
                                                                   3ofof1242 of
                                                                             Page
                                                                              Page
                                                                                3 Page
                                                                                   ID
                                                                                    ID #:181
                                                                                       #:440
                                                                                         ID
                                      #:235


                 RETURN
    DATEWARRANTRECEIVED                   DATEANDTCMEWARRANTEXECUTED                                      COPY OF WARRANTANDRECEIPTFOR ITEMS LEFT
                                                                                                          WITH AT     T,-J£    (!,11!:.,"'tg«"


    INVENTORYMADE[N THE PRESENCEOF                  C""'
                                                   -> n-
                                                                j ' . h "' ,
                                                                         ,v
                                                                                     ,/
                                                                                    ,- .
                                                                                                 ~~
                                                                                                 .C.f.-
                                                                                                          I/ Ila..
                                                                                                              l        I -
                                                                                                                   r--r-
                                                                1

    INVENTORYOF PROPERTYSEIZEDPURSUANTTO THE WARRANT

     1. A-51,1S              2e n p p. d /YId de /                    f IJ 2 3
     2.          ~ //          -Z:nsf ,·rA f-i'P'V--
     3.           k //       l/o.s-1-ro P/1{ t/-0. 3&A- o/. [),l-./             /

     4.           I.I s I' V                         f n 'tS ,[r trfi1
                               :bl)\,/-.,..b a U c;,)(,                CIO-l!L.
     ~-            /J1~y                        - CuMl'Y'IIY15/A-J!,~?\/f6W~,r
                                     CfTlAIYJl--121'                            Cord
     i.           rn"'~Y            ((JUr}N?-r ,.... £,// ('oun/-Dr +- f0,U-lh en/
     7.            -::,:.r,J        +-P /      1
                                                   (~h"I            100               (!)

      S.              Ir ,:s        T .>            1 ('(M,..        7    00              (z.)

      'L                                     e;oril'efr,'c                     µa,YIJ               t:ayCr(              (1)
      {0 .                                   .8i'ornt h--1        l:Jy c VL cz)
                                                         ·c µ.(A/rJ

      //.               N..tsf       of       Sa.le .& 1 a!::/f b~JL-1~, t'nflu.cft'1t.f
                       Sh.elv,flj I         bouf.J  ha.rclu>a.-r.ctt11d .b'>t./ -1-tn.s.
      I2 .               f3 o JC    tJ C,    lc..t.y5
          I 3.          L O O s.R        Y.S.
                                      l<.P

                                                                    CERTIFICATION

    I declare under penalty of perjury that I am an officer who executed this warrant and that this inventory is
    correct and was returned along with the original warrant to the designated judge through a filing with the
    Clerk's Office.

    Date,._      _,_'-1+-/_ti-1-/_2_0_2_/,____
                  I      I
                                                   ~--t-.J
                                                    ~g                    /4. 0 lllk,....,
                                                                officer's signarurp/'"""
                                                                                                          ------



                                                   S 1c Ly /I (1,R              k . LCI / ha.
                                                                                            r -I-
                                                    Printed name and title




                                                                              2                                                                  6
Case
Case
 Case2:21-cv-04405-RGK-MAR
     2:21-cv-03254-RGK-MAR
      2:21-mj-01307-DUTY *SEALED*
                            Document
                             Document
                                   Document
                                      44-2
                                      20 Filed
                                            Filed
                                              5 04/20/21
                                                  Filed
                                                  06/15/21
                                                        04/09/21
                                                            Page
                                                             Page9Page
                                                                   4ofof1243 of
                                                                             Page
                                                                              Page
                                                                                3 Page
                                                                                   ID
                                                                                    ID #:182
                                                                                       #:441
                                                                                         ID
                                      #:236
    Case 2:21-mj-01307-DUTY *SEALED* Document1-1 *SEALED*                                                  Filed 03/17/21 Page 3 of 3
                                     Page ID#:112



                                          ATTACHMENT-USPVSEIZURE WARRANT

        ITEMS TO BE SEIZED


              The items              to     be seized           are      the     following               pieces         of business

        equipment       located             at    U.S.       PRIVATE VAULTS, INC.,                          9182 WEST

        OLYMPIC BLVD.,               BEVERLY HILLS,                CA 90212:

                        a.           The business               computers;

                        b.           The money           counters;

                        c.           The nests           of     safety         deposit           boxes       and        keys.           This

              warrant             does      not    authorize             a criminal              search           or    seizure              of

              the      contents             of    the    safety       deposit            boxes.             In     seizing             the

              nests          of    safety         deposit        boxes,          agents          shall       follow            their

              written             inventory         policies          to       protect           their       agencies             and

              the      contents            of     the    boxes.           Also      in     accordance                  with     their

              written             policies,         agents        shall          inspect          the      contents             of      the

              boxes          in    an effort            to    identify           their      owners           in        order      to
              notify          them        so that        they     can      claim         their       property;

                        d.           The digital              and video           surveillance                   and security
              equipment;              and

                        e.           The biometric               scanners.




                                                                      3                                                                           7
